Case 1:19-cv-01959-SEB-MJD Document 67 Filed 03/03/20 Page 1 of 3 PageID #: 448




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION

 MARY J. FREDERICK, JOHN                               )
 JUSTIN COLLIER, WILLIAM L.                            )
 MARKS, JR., MINNIE LEE CLARK,                         )
 and COMMON CAUSE INDIANA,                             )
                                                       )
                 Plaintiffs,                           )
                                                       )
        -v-                                            )      Case No. 1:19-cv-1959-SEB-MJD
                                                       )
 CONNIE LAWSON,                                        )
                                                       )
                 Defendant.                            )

              PLAINTIFFS’ CROSS-MOTION FOR SUMMARY JUDGMENT

        Plaintiffs, Mary J. Frederick, John Justin Collier, William L. Marks, Jr., Minnie Lee

 Clark, and Common Cause Indiana, by counsel, pursuant to Federal Rule of Civil Procedure

 56(a) and S.D. Ind. L.R. 56-1, hereby respectfully move the Court for summary judgment upon

 their First Amended Complaint [Filing No. 14.] Plaintiffs incorporate their exhibits attached

 hereto, and their Brief in Support of Cross-Motion for Summary Judgment and Response to

 Defendant’s Motion for Summary Judgment (hereinafter “Brief”), and show the Court as follows:

        1.      Plaintiffs include individual voters who were legally entitled to cast mail-in absentee

 ballots and did so. Despite signing their names to their application and ballet envelopes, their signatures

 were later determined, without standards or guidelines, to not be genuine, or not correspond, and thus

 their ballots were rejected. Plaintiff Common Cause Indiana also has organizational and associational

 standing to bring these claims.

        2.      The individual Plaintiffs were not notified of the rejection by any governmental agency,

 nor were they given any chance to contest the rejection or the determination that their signatures were

 not genuine. The individual Plaintiffs were given no opportunity to cure the alleged defect.
Case 1:19-cv-01959-SEB-MJD Document 67 Filed 03/03/20 Page 2 of 3 PageID #: 449




        3.      For the foregoing reasons, and because Indiana law permits such ballot disqualification

 without the use of any standards, rules or guidelines, Indiana law, and Defendant’s enforcement thereof,

 violate the Due Process and Equal Protection Clauses of the Fourteenth Amendment to the United

 States Constitution.

        4.      Plaintiffs are entitled to summary judgment on their Fourteenth Amendment claims for

 the reasons identified in their First Amended Complaint, Brief and designated evidence.

        5.      In support of this motion, Plaintiffs hereby incorporate and designate as evidence all

 exhibits to this Motion and documents cited by such exhibits; all documents cited to by the Brief; all

 evidence designated by Defendant in response to this motion or in support of their own motion for

 summary judgment; all pleadings in this matter and all documents cited to in all pleadings; including,

 without limitation, the following:

                1.      Excerpts from the 2020 Election Administrator’s Manual [Filing No. 67-1];

                2.      Affidavit of Forestine B. Jackson [Filing No. 67-2];

                3.      Declaration of Mary J. Frederick, and exhibits thereto [Filing No. 67-3];

                4.      Declaration of John Justin Collier, and exhibits thereto [Filing No. 67-4];

                5.      Declaration of William L. Marks, and exhibits thereto [Filing No. 67-5];

                6.      Declaration of Julia Vaughn [Filing No. 67-4]);

                7.      Excerpts from the Expert Report of Dr. Linton A. Mohammed [Filing No. 67-7];

                8.      Declaration of Norma Blake [Filing No. 67-8];

                9.      Absentee Voter’s Bill of Rights [Filing No. 67-9];

                10.     Excerpts from the deposition of Mary Catherine Fanello Zwierzynski [Filing No.

                        67-10];

                11.     Excerpts from the deposition of Angela M. Nussmeyer [Filing No. 67-11]; and

                12.     Declaration of Billie Breaux and exhibits thereto [Filing No. 67-12].

                                                  2
Case 1:19-cv-01959-SEB-MJD Document 67 Filed 03/03/20 Page 3 of 3 PageID #: 450




        Wherefore, Plaintiffs, by counsel, request that the Court grant their Cross-Motion for Summary

 Judgment, deny Defendant’s Motion for Summary Judgment, and grant them all appropriate relief.

 Respectfully submitted,

 s/ William R. Groth                                s/ Mark W. Sniderman
 William R. Groth                                   Mark W. Sniderman
 MACEY SWANSON LLP                                  FINDLING, PARK, CONYERS,
 445 N. Pennsylvania St., Suite 401                  WOODY & SNIDERMAN, P.C.
 Indianapolis, IN 46204                             151 N. Delaware Street, Ste. 1520
 Tel: (317) 637-2345, Ext. 132                      Indianapolis, IN 46204
 WGroth@fdgtlaborlaw.com                            Tel: (317) 231-1100
                                                    msniderman@findlingpark.com




                                               3
